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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

      ALEKSEJ GUBAREV,
      XBT HOLDING S.A., and
      WEBZILLA, INC.
        Plaintiffs,                                                     Case No.

      v.                                                           0:17-cv-60426-UU

      BUZZFEED, INC. and                                         FILED UNDER SEAL
      BEN SMITH
        Defendants.

       PLAINTIFFS’ EMERGENCY MOTION TO CONTINUE TO SEAL PORTIONS OF
      DEFENDANTS’ SUMMARY JUDGMENT MOTIONS AND STATEMENTS OF FACT




           There is no other way to say this but directly: Defendants are engaged in a blatant attempt
  to publicly smear Plaintiffs – employing a campaign of public innuendo and the inclusion of
  wholly irrelevant materials in their summary judgment filings – in an obvious and inappropriate
  attempt to prejudice the venire in this case. Attorney Roy Black’s tweet (pictured above), which
  he sent to a reporter for Variety Magazine and that was recently reproduced in its entirety in an
  article in the Miami Herald1 is a prime example of this highly inappropriate tactic (not to
  mention a blatant violation of the Amended Protective Order issued by the Court).
           It is a tactic that should not be allowed to continue with Defendants’ new attempts to


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   See https://www.miamiherald.com/news/local/crime/article218740565.html, last accessed
  September 27, 2018.
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  publicly file information that has no probative value to the issues before this Court but which
  may unduly prejudice potential jurors. As the Court is aware from the parties’ filings, Plaintiffs
  intend to bring Daubert motions and motions in limine addressing the admissibility of such
  prejudicial information. In the interim – and at least until such motions are decided – Plaintiffs
  move for portions of Defendants’ Motions for Summary Judgment (and supporting papers) to
  remain under seal. In further support of this Motion, Plaintiffs state as follows.
  I.     Irrelevant and Inflammatory Allegations Concerning the Hosting of Adult
         Webmaster Conferences
         As was anticipated, Defendants spent much of their summary judgment motion on the
  public figure analysis discussing the fact that some of Webzilla’s clients hosted pornography
  websites and that, for a time, a company in which Mr. Gubarev was a passive investor sponsored
  a conference for the web professionals that develop and maintain such websites. Ironically, in
  their own motion, Defendants argue that “For his porn-related activities, Gubarev used a
  pseudonym....” Defendants’ Motion for Partial Summary Judgment on Plaintiffs’ Status as
  Public Figures [hereinafter, “Defendants’ Motion”], Docket No. 212, p. 2, fn. 1. In other words,
  and by Defendants’ own measure, Mr. Gubarev did not seek publicity by virtue of his
  involvement with these adult- content conferences. To the contrary, he actively sought to avoid
  any publicity in connection with adult content.
         Similarly, as Defendants themselves allege: “By 2013, Plaintiffs were winding down
  their direct involvement in promoting the adult web industry.” Defendants’ Motion, p. 3. In
  other words (and again, based on Defendants’ own assertions) Plaintiffs were not even
  “promoting” adult content for the four years prior to Buzzfeed publishing the so-called Dossier.
  How, then, could such “promotion” (even if it occurred in the manner and scope as alleged by
  Defendants) be relevant to Defendants’ argument that Plaintiffs voluntarily thrust themselves
  into the “public controversy” concerning the hacking of the Democratic National Committee? It
  cannot be relevant, is not relevant, and (like Attorney Black’s tweet), is designed solely to
  improperly prejudice potential jurors. Moreover, there is no reason why this “information”
  needs to be placed into the public domain at this time. If Defendants believe that this
  information has legitimate relevance to the present proceedings, they will be able to argue as
  much to this Court. Plaintiffs intend to move to have such references precluded as irrelevant and
  unduly prejudicial. If the Court were to agree with Defendants’ position, the materials could be


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  unsealed at that point in time.
  II.      Outrageous References to Child Pornography
           Citing primarily to a 2008 article written by a Dutch blogger and an anonymous 2009
  internet posting, Defendants try to connect Plaintiffs to child pornography, alleging that such
  materials were hosted on Webzilla’s servers (again, allegations, which have nothing to do with
  the question of limited public figure status, that are directed at Webzilla’s clients, not Plaintiffs
  themselves). The allegations are repugnant; not supported by evidence that would be considered
  even remotely admissible; irrelevant; and clearly designed for the sole purpose of unduly
  prejudicing the jury. Its inclusion in Defendants’ sealed motion is outrageous enough without
  compounding the issue by allowing Defendants to publish such irrelevant material to the world at
  large.
  III.     Methbot and Webzilla’s Efforts at Crisis Control
           Similarly, Defendants are looking to use the fact that Webzilla sought to minimize
  negative publicity that could have arisen out of a report that one of Webzilla’s clients was
  involved in committing advertising fraud as proof that Webzilla was “injecting themselves into
  controversy over Russian Cyber-Crime.” Defendants’ Motion, pp. 8-10. Indeed, Defendants’
  own motion recognizes (at it had to, given the sworn testimony) that Webzilla’s motivation was
  to “minimize the bad publicity” and to be prepared to “get in front of” the story if journalists
  decided to ask about it. Defendants’ Motion, pp. 9-10. Ultimately, no journalists ended up
  contacting Webzilla about its client’s involvement in the Methbot fraud.
           Here, too, the evidence is precisely the opposite of what Defendants claim to be their
  arguments. The evidence cited does not show an attempt to inject oneself into a controversy: the
  evidence shows an effort to distance oneself from a controversy (if necessary). See, also, Exhibit
  1 hereto. There is, then, no legitimate reason for such information to be placed in front of
  prospective jurors. There is, nonetheless, a reason why Defendants want such information to be
  public – to unduly prejudice prospective jurors. Once again, Plaintiffs intend to move to have
  such references precluded as irrelevant and unduly prejudicial. And, if the Court were to agree
  with Defendants’ position, the materials could be unsealed at that point in time. There is,
  however, no reason for such information to be made public at this time and to do so serves no
  legitimate purpose.



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  IV.    The (Alleged) Wrongs of Others
         Finally, Defendants gratuitously throw into their motion facts to suggest that “notorious
  cyber-criminals” were also sponsors of (or attendees at) conferences that Plaintiffs attended or
  sponsored, as if guilt-by-association was somehow proof of public figure status. Putting aside
  the fact that the information is completely irrelevant to the question of whether Plaintiffs are
  public figures, the assertion is also an absurdity. In March of 2018, Defendant Ben Smith spoke
  at a conference hosted by the Financial Times. See https://live.ft.com/Events/2018/FT-Future-
  of-News-2018. Also speaking at that conference was former Breitbart editor, Stephen Bannon.
  Does this mean that Ben Smith and Buzzfeed support Stephen Bannon’s right-wing nationalistic
  and white supremacist views? Or the pro-pedophilia views of former Breitbart editor Milo
  Yiannopoulos? No. And yet this is the type of smear suggested by Defendants’ Motion.
  Injecting such vile innuendo into the public has no legitimate purpose and would serve only to
  unduly prejudice potential jurors.
                                              Conclusion
         For the reasons articulated hereinabove, Plaintiffs respectfully request that the Court
  order that the portions of Defendants’ motions discussing pornography, adult-content
  conferences, child pornography, the Methbot fraud, and the alleged wrongdoing of persons other
  than the Plaintiffs remain confidential and under seal until such time as this Court orders
  otherwise.
                                  Basis for Filing as an Emergency
         Plaintiffs have filed the present motion on an emergency basis because, despite requests
  from counsel, Defendants would not agree to either: (a) delay filing a public version of their
  Summary Judgment Motion and accompanying documents until the Court had an opportunity to
  rule on the present motion or (b) file a preliminary public version of their Motion and
  accompanying documents until the Court had the opportunity to rule on the present motion. See
  Email correspondence, attached as Exhibit 2.




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                              Certificate of Compliance with Local Rule 7.1
         The undersigned certify that Plaintiffs’ counsel have conferred with counsel for
  Defendants in a good-faith effort to resolve the issues raised in this motion and have been unable
  to do so.


  Dated: September 28, 2018
  Respectfully Submitted:
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                                  CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing was served electronically via
  email on all counsel or parties of record on the service list below on September 28, 2018.


                                                       /s/ Matthew Shayefar
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